                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT WINCHESTER

  UNITED STATES OF AMERICA                       )
                                                 )        Case No. 4:15-cr-18
  v.                                             )
                                                 )        Judge Travis R. McDonough
  JOSEPH MARTIN                                  )
                                                 )        Magistrate Judge Susan K. Lee
                                                 )


                                              ORDER



        Magistrate Judge Susan K. Lee filed a report and recommendation recommending that

 the Court: (1) grant Defendant’s motion to withdraw his not guilty plea as to Count One of the

 five-count Indictment; (2) accept Defendant’s guilty plea as to the lesser included offense of the

 charge in Count One of the Indictment, that is of conspiracy to distribute a mixture and substance

 containing a detectable amount of marijuana, a Schedule I controlled substance, in violation of

 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(D); (3) adjudicate the Defendant guilty of lesser

 included offense of the charge in Count One of the Indictment, that is of conspiracy to distribute

 a mixture and substance containing a detectable amount of marijuana, a Schedule I controlled

 substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(D); (4) defer a decision on

 whether to accept the plea agreement until sentencing; and (5) order Defendant released on bond

 under appropriate conditions of release until sentencing in this matter. (Doc. 213.)

        Neither party filed a timely objection to the report and recommendation. After reviewing

 the record, the Court agrees with Magistrate Judge Lee’s report and recommendation.

 Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s report and

 recommendation (Doc. 213) pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:



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    1. Defendant’s motion to withdraw his not guilty plea as to lesser included offense of the

       charge in Count One of the Indictment, that is of conspiracy to distribute a mixture and

       substance containing a detectable amount of marijuana, a Schedule I controlled

       substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(D) of the

       Indictment is GRANTED;

    2. Defendant’s plea of guilty to lesser included offense of the charge in Count One of the

       Indictment, that is of conspiracy to distribute a mixture and substance containing a

       detectable amount of marijuana, a Schedule I controlled substance, in violation of 21

       U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(D) is ACCEPTED;

    3. Defendant is hereby ADJUDGED guilty of lesser included offense of the charge in

       Count One of the Indictment, that is of conspiracy to distribute a mixture and substance

       containing a detectable amount of marijuana, a Schedule I controlled substance, in

       violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(D);

    4. A decision on whether to accept the plea agreement is DEFERRED until sentencing; and

    5. Defendant SHALL REMAIN on bond under appropriate conditions of release in this

       matter, which is scheduled to take place on February 10, 2017 at 9:00 a.m.

       [EASTERN] before the undersigned.

    SO ORDERED.


                                             /s/Travis R. McDonough
                                             TRAVIS R. MCDONOUGH
                                             UNITED STATES DISTRICT JUDGE




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